    Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 1 of 9 PageID #:1



                            LINITED STATES DISTRICT COURTR                 E G E TVH        D
                            NORTIIERI\ DISTRICT OF ILLINOIS
                                   EASTERN DI\rISIOI'I
                                                                             $1ei1i3 eriF,
                                                                          THOMAS G. BRUTOI.I
                                                                       CLERK, U.S. DISTRICT COURT




@nter above the firllrutme
of the plaintiffor plaintiffs in
this action)                                            15cv8458
                                                        Judge Edmond E. Chang
                                                uj      Magistrate Judge Susan E. Cox
                                                (r      PC8




           o
 Fur 5r               Prsh<"ns     {on

 @nter above the fullname of ALL
 defendants in this action. Do not
 use "gt al.")

 CI{ECK ONE ONLY:

    {             COMPLAINT I.INDERTIM CTVIL RIGHTS ACT, TITLE 42 SECTION 1983
                  U.S. Code (state, county, or municipal defendants)

                  C0MPLAINT LII{DERTIIE CONSTITUTION ("BIVENS" ACTION), TITLE
                  28 SECTION 1331U.S. Code (federal defendants)

                  OTIfiR     (cite statute, if known)

                                                    I'INSTRUCTIONS FOR
  BEFORE FILLING OUT THIS COMPIAINT, PLEASE REFERTO
  FILING.II FOLLOW THESE INSTRUCTIONS CAREFULLY.
     Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 2 of 9 PageID #:2




      Plaintiff(s):

       A.     Name:

       B.     List all aliases:    iVorur
       C.     Prisoner identiricationnumber,     O lLtgl'1       A-      2A t 5 0 30 SLL+ Ll
       D.     Place of present confinement:

       E.

       (Ifthere is more than one plaintffi then each plaintiff must list his or her name, aliases, I.D.
       number, place of confinement, and current address according to the above format on a
       separate sheet of paper.)

u.     Defendant(s):
       (In A below, place the full name of the first defendant in the fust blank, his or her official
       position in the second blark, and his or her place of employment in the thfud blark. Space
       for two additional defendants is provided in B and C.)

       A.      Defendant:

               Title:

               Place ofEmployment:

       B.      Defendant:

               Title:

               Place ofEmployment:

               Defendant:

               Title:

                Place of Employment:

        (If you have more than tlree defendants, then all additional defendants must be listed
        according to the above format on a separate sheet of paper.)




                                                    2                                        Revised 9/2007
      Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 3 of 9 PageID #:3




uI.    tr-,ist   ALL lawsuits you (anilyour co-plaintiffs, if any) have filed in any state or federal
       court in the United States:

       A.          Name of case and        docketnumber: Na N n


        B.          Approximate date of filing       lawsuit:    N\Ng
        C.          List   a1l   plaintiffs (if youhad co-plaintiffs), including any aliases,   NoN€



        D.          List all     defendants, NON€




                     court in r,vhich tire lawsuit was filed (if federai court, name the district;
                                                                                                   if state court,
         E.                                                                                 '
                     name the       county):            N1Ni
          F.         Name of judge to whom case was assigned:               NoruE


          G.         Basic claim       made:         N0   N€

                                                                                     was it appealed?
           H.         Disposition of this case (for example. Was the case dismissed?
                      Is iistillPendrng?):             NAN€


                      Approximate date of        disposition: N0 ttt1

                                                            DESCRIBE THE
  IF YoU HAvE F.ILED MoRE THAN ONE LAWSTIIT, TT{EN YOU MUST
  ADDITIONAL LAWSUITS ON ANOTIIER PIECE OF PAPER, USING THIS
                                                                    SAME
                                                                   FILED,
  FORMAT. REGARDLESS OF IIOW MAI.IY -q4!ql YOU HAYE PREVIOUSLY
  YOU Wtl,L NOT gE NXCUSED FROM FILLING OUT TIIIS SECTION
                                                            COMPLETELY'
                                                                      CO'
   A}ID FAILURE TO DO SO MAY RESULT IN DISMISSAL OJ'YOUR CASE'
   PLAINTIFFS MUST ALSO LIST ALL CASES TIIEY HAVE FIIED.



                                                                                                         Revised 9/2007
      Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 4 of 9 PageID #:4


TV.   Statement of Claim:

      State here as briefly as possible the facts of your case. Describe how each defendant is
      involved, including names, dates, and places. Do not grve any legal arguments or cite any
      cases or statutes. If you intend to allege a number of related claims, number and set forth
      each claim in a separate paragraph. (use as much space as you need. Attach extra sheets
      if necessary.)




                                                                                       Revised 9/2007
         Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 5 of 9 PageID #:5


' orrr r'", rnri{h"r ,f e l",ecr se nl *fiis $ lse nrrr.sf
o, d lo-lsr, ir.rt?r\son*ort. The Foct..,a\ Br.cFg"r.*.,di
Yn^ch ",'''5 rf nfi^ro'irorale,lS h:3c p,nr,r1,M..
Rohqrt Ra.rnes was &+ h\r res\lff,e, - \5oaz borches+(r
ouu, N^\\.'.. It , ,^i\+, Si*, ds/f,n*i l/- Ph5\\i, I..*ir,



%\i1* -      A
                 *."    ( *r.t.ot   b.t          \iv isior,, - G.l,R.Fli . F
                                          "Lve
F,g,l,ve ' ppr^eh"rrs"ton To 5^15h, Mosl,ro"/e as
parole ogeuts, \Ls ?*\icr [n.ce *h\b b'lKe infn +\ne
hr.'i\Unb I or'ce \irre of ..^d n"re ruf ' y $?o.fNn*#
*hu Pnli.,,u L*E, lhey wnY rr't\Ae hn"y .\olno..n.
Th* Pn\i t , fLh, .og)'r K^nlK o,. r*v Ino. r &1s. L.e^, i,
n.Ktt*ho i. il" AiA .,o (hir^g'?n\ir.r',,J*\i[S
    {l'ui.    se\ves. Ms, L"ois a..K nBai^ whn is           n,          \l          d
    {h.    to
             (hi.. ,       {i
                      %\,t< c .,.,{r.r.,,, k^o.l( " Ms. k*: is
o' s,o<r }he d.n* *llh {h* choi^ on i\                                  ar^d     she
    o*k {hq fuolle o., \\^,                .'U"0," s,\*     uf   +\. d*. rould
         p {l.'er.n , {he f,<.mn\e ?...\ice osK he* h of ,-, {k
    she- he\
Aonn^ ,), ,{ Ms. \*,.r;s qsK Sn r ,hnt, +he,", Ms. L.e,ris
**t J d. c\os* th, Aon" {hot , ,h*, qn, $r,.nn[(
?,.\i,   u   *lu,   K   h* n^   L*t \r,siAe Ue. Aooo (,r,,{ +hr Mc.\(.
                                            5                                 Revised 9/2007
     Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 6 of 9 PageID #:6


 &^Inu€:?"\,.e push lhe dsor o"' Ms,Le,^ris..\nl. wqs
 a\\ rn ShocK , Cntu lhe'/ lh, LLri (-a.eo Po I i.e fo"ce
                           **he
 J-ln.V wa/ inside r,r.y o$arf r*.nl *,{. no consent
 nin'"u-'/        8",;;; "{ r..l                     Lh';*qo pr]. ..'"'
                                                                            'l,l.;i
,.v{Gs   -{he problem si^c< }hg1 b.uK." the ,ehain on
,,h\ dro.,'Th. {-.nn*le ?olice     lsk M( wcr-s 7- Rqbert
 " Barne
           S sn d f s'aid yeJ . .[re t.",o\. ?o\i ce \r\d Me
 .L..eeded +" co,M( w'i{h {herq o.r\ & pqro\( vr-q\otQo r
             t




,,I Kner^: *lnd was no\ t-cue,.-\r\h{.r^T- asK }n cr^\\
 "*L,,(. ?sro\e Nuy,bqr \he Mc.\c ?o\t.< +o\d r\^g h
       I                   I r\


 -\O-*Ys-eS.". is.
.-B*In-es      \,r) *ca-,l:nrq5
                    CQMrnq W*h-"       us..I ask
                                wr h - U-$..-J=       i"the{ oi\A
                                                -aSK. truherr O.i\^ L aoutg
                                                                      &oi8      L
 Me [fi(.^ac.le Poti.J said {o the s\a\E"' Son euesliq.
 T o.sK aho* wh"f a",d                     slChi eago po\ice 'J;d n"ot
 ,F?ponse, {., Ay quesLoru Ms, L*,cii, q;K {{.s. Chi*3o
 "%\i.e d, d \hd.r hov. c,- wc*m*rt , s\r\\ no r-eSpongc-
 T[."n Ll ,Bobwt B]a* nes s&(d ," il . ?p,*, dun't \--,*ve 'a
-,Warr:c.o.t ljlyl ..nst qoin q,",l6o*-^s[,gn ]- rNaS
 ,rn\a,^:t*\\\ q^d   'r\\eq1\\o.,
                                                 z.d $o,o,. My Ia*[.,\
 res\d*.'ce'+oK*                i"$' cris\od3"I          fhun c.*k"d *"t
-I     .e,stgd..,
       s=f              $"        s.or. e -\leir,orl,=.o--,-cgsposs(. $rs,.o.\h(
 Chiccuc\o %\ic(. A4V                 l+*il'i/ fit*,ds LsK \h.                  ?o\,i.e
,=rNhrr."        *o.s   +h.":)     '!Kr^g'      i"t*,-ltr-u,<..*f B-srnes,      c$d


.T-    .was h-eld -More- -fin-qn 4S hours $n-*                                  {rrrrc
                                                                         --l-{t<-
,r.I   s"r*st       oo-d    I     wa,> *Grr-es{d.       wi{hout        er - wq.r:.,,*t
                                                sha
):
t:      Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 7 of 9 PageID #:7
     z.IG



                   of   orcrurted                $s*'- haod--ruI$ 1                r-,crK                    :-




 0n -L&-T-*  e,,te* 5l a*d ty&t**{h' - Chicaqg     O/
                                                      Pol;e(-
11 r ,.                 1    I           , --1.
          )I -was de*rleJ -u-t4*al\!eslio-n Y**- Qnr.,
,;il.c 0n 't*t)
 -pho-n,         a^d I- \N&) byy ;nfcrr ogot<Al w',{h
 no       ,ordc,, n iq h*, p"n*u-,stpn--nqr ]t,e
                                                 "-oppo*u"i*5
:l
            Mi.
l.
     J.'     hqve
     ,-*.-r*-'-v.:r.       ru.V ****)
                     ->i..--t--.T
                          -       \o]"Ve-r
                                        -t.-.-.-r,-        -whiEhI ---L - ho.d +.- -
                                              - gres-errf .-r.\r.1-!---:
                                                                 -     -r-'-Y--:

     ,-adsis-g has' of          *l  e"o--l'-\uLbLoo,\ - r:',ghk>'Thi > al[eg
                              Fe-b.Lnartrl 3*2-ot 3-- 1*($eg\"re,nl -l*h"
                                                                           "
     "lfucss--\NIos
  ufo-.*no*\'boed I wm 6"\("a -rn$s c^,sj-n-\.,r -o-I) & --
  ')
,Z-Y.*l         Z5 nnzrsn*hs        a\\*-qe-A- rea^platn\-Y-rior
:r-Yenrcl  -ot-25
           -ot-Z*)  nztoo\hs---ol-A       o , complq
                     too\hs*-ol-A a\\eqe-d-      ,               --     r

  +h" "pos\ 1,5 ,***hs l-hod -* f^i*st-tgd''-.i" A\irt
;i,n
                                              r:iur--   -\,, *l"c(r 25      Mor,*hs   -I
                                                                                       -,
     5ove.(.-i in             g,t $Vi-q c?.?              "
                                             \-"x\ rra\e\q -t -      \,,,ti      ax clud r+3


.?en\LrrltsrB-$rh"re
  -.Jln              r13dr,o& Bannes has WEn




                                                                                      -?*-.-..,*---*---,* -,-.**




                    I! cln*:K sl poltce deprfu-,,rt.
     -14nr{ 11 , LaLS- - bI   64
      rt'-tltl
     {**il=?913:polic<d*pa*fu*\e:-- ^.,-;                                            --                 t
  :i

             Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 8 of 9 PageID #:8




       ,J*.uurq \5 ,ZOl5 -721 E l tl t-t                         tt    chicago po\ice

   ,"F;t;;\
   ':'"'--                  \3, iots -a.rresled on .& \N&r.*t Aav"ing
                        J           te



   :1
   :1,-
                '.sve-sfrga{lvs
                                I         r   t    .         t
                                         e-kt- \.a a.-shamr,No war..*rt
                                                                       ttl
                                                                                        i"lucgdicle"-."




    '\\\eqc.\ prrn.hss pro.l1 $"" thg btP. \he\r e+fters wtll
     '"' r bI ' \\^uJ kli*3" ?o\i"\ +r\.un'."\ *d |"",Ir^r-                                             ..
   " .$rrccur,n
--,-*eCI-L1s*--pr.*-e51c-<s-
                            F-.u=rhi.Eh           *$-hs$\A*-\ce.--n--"\\*ol s$ il-Cp*Ir}-LlffsA       -"-
     :;       \                                                                ro - t    I   C\   t




                         **sonI.S-{here                           ,t         n:" SS- -Gs,Ll$-
        -$-o\nog-orresl
       ',; . r          . t O \(                         --tj--t'.,,   ,Yl
  -    ,"
             o         'r
                          - docue-*,A U""--Jdicistr-\i\a-
            ldj)h^- a*r-49{                          J
     Case: 1:15-cv-08458 Document #: 1 Filed: 09/24/15 Page 9 of 9 PageID #:9




v.    Relief:

      State briefly exactly what you want the court to do for you. Make no legal arguments.
                                                                                            Cite
      no cases or statutes.




                GClt-ion   '                                                        nNo
       The plaintiff demands that the case be tried by a jury.          YES



                                                         CERTIFICATION

                               By signing this Complaint, I certify that the facts stated in this
                               Complainiare true tothe best of my knowledge, information and
                               beliei. I understand that if this certification is not correct, I may be
                               subject to sanctions bY the Court.

                               Signed     this          daY   of            ,   20 | 5



                                 {   LU   \/\rL4/ J ./c l_/YV,:.Y!
                               (Signature of plaintiff or plaintiffs)



                                (Print name)

                                     I   48t
                                (I.D. Number)




                                  C-hicc"           o ,I.L    6 atr7    {
                                (Address)




                                                                                              Revised 9O007
